       Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 1 of 26




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

IN RE NEW ENGLAND COMPOUNDING                           )
PHARMACY, INC. PRODUCTS LIABILITY                       )
LITIGATION                                              )
                                                        )       MDL No. 2419
                                                        )       Dkt. No 1:13-md-2419 (RWZ)
THIS DOCUMENT RELATES TO:                               )
                                                        )       Leave to file granted at Dkt. 1222
All Cases                                               )
                                                        )

                  TENNESSEE CLINIC DEFENDANTS’
    SUPPLEMENTAL SUMMARY BRIEF OF POSITION ON DISCOVERY ISSUES


        These     Tennessee       clinics   and    physicians      –   Saint    Thomas      Outpatient

Neurosurgical Center, LLC; Howell Allen Clinic, a Professional Corporation; John W.

Culclasure, MD; Debra V. Schamberg, RN; Specialty Surgery Center, Crossville, PLLC;

Kenneth R. Lister, MD; Kenneth Lister, MD, PC; and Donald E. Jones, MD (collectively

referred to herein as the “Tennessee Clinic Defendants”) come now and file this

Supplemental Summary Brief of Position on Discovery Issues.

    1. Introduction

            a. Purpose of this brief

        Pursuant to the Court’s ruling at Dkt. 1222, the Tennessee Clinic Defendants file

this brief to (1) summarize their position on how discovery should be conducted in the

100+ Tennessee cases pending in the MDL and (2) present their proposal for a

discovery plan (with deadlines) and bellwether framework in this MDL.1



1
  This brief is filed on behalf of all Tennessee Clinic Defendants. However, the proposed discovery plan
attached as exhibit 13 addresses only St. Thomas-related cases. The Tennessee Clinic Defendants
anticipate that a similar discovery plan with similar provisions and timeframes would be entered for SSC-
related cases (and, potentially, for each individual clinic with a substantial number of cases). The SSC-

                                                   1
       Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 2 of 26




        The Tennessee Clinic Defendants intend this brief to synthesize all their previous

pleadings on discovery issues into one summary document presenting their position

and proposal.

            b. Who we are

        In September 2012, clinicians at Vanderbilt in Nashville diagnosed a patient with

fungal meningitis. In short order, involved clinicians and the Tennessee Department of

Health traced the illness to contaminated methylprednisolone acetate (“MPA”)

compounded by New England Compounding Center (“NECC”).2 As additional cases

were diagnosed, the investigation continued, and investigators determined that NECC

had shipped vials from the contaminated batches to three Tennessee clinics – Saint

Thomas Outpatient Neurosurgical Clinic (Nashville, TN), Specialty Surgery Center

(Crossville, TN), and PCA Pain Care (Oak Ridge, TN).

        A flood of lawsuits against NECC followed. It soon became apparent that NECC

and its insurance could not cover the potential liability for its contamination of the

medication. NECC’s bankruptcy was inevitable; the petition was filed in December

2012. Predictably, plaintiffs’ attorneys shifted focus to other avenues of recovery.

Because Tennessee has a relatively short one-year statute of limitations for health care

liability actions, the three Tennessee clinics moved to the crosshairs. Scores of lawsuits

naming the Tennessee Clinic Defendants followed.




related discovery plan would include a smaller number of trial candidate cases and bellwether trial cases
given the smaller overall universe of SSC-related cases. This is discussed in more detail below.
2
  For background, see Kainer, et al., Fungal Infections Associated with Contaminated Methylprednisolone
in Tennessee, ENG J MED 2012; 367: 2194-2203 (December 6, 2012).

                                                   2
        Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 3 of 26




        The parties filing this brief – the Tennessee Clinic Defendants3 – are:

STOPNC, et al.4:

    •   Saint Thomas Outpatient Neurosurgical Center, LLC (“STOPNC”) – an
        ambulatory surgery center in Nashville, Tennessee where contaminated NECC
        MPA was administered to plaintiffs

    •   Howell Allen Clinic (“Howell Allen”) – a group of neurosurgeons and one-half
        owner of STOPNC, and also the employer of John Culclasure, MD (“Dr.
        Culclasure”) and Debra Schamberg, RN (“Ms. Schamberg”)

    •   Dr. Culclasure – anesthesiologist and the medical director of STOPNC;
        administered MPA to plaintiffs at STOPNC and also participated in the decision
        to buy MPA from NECC

    •   Ms. Schamberg – nurse and the facility director of STOPNC; participated in the
        decision to buy MPA from NECC

SSC, et al.:

    •   Specialty Surgery Center (“SSC”) – an ambulatory surgery center in Crossville,
        Tennessee, where NECC MPA was administered to plaintiffs

    •   Kenneth Lister, MD (“Dr. Lister”) – an anesthesiologist; administered NECC MPA
        to plaintiffs at SSC and participated in the decision to buy MPA from NECC

    •   Kenneth Lister, MD, PC (“Dr. Lister’s Practice”) – Dr. Lister’s practice entity

Dr. Jones:

    •   Donald Jones, MD (“Dr. Jones”) – an anesthesiologist at PCA Pain Care in Oak
        Ridge, Tennessee, where NECC MPA was administered to plaintiffs.

           c. Summary of position of Tennessee Clinic Defendants on discovery

        The Tennessee Clinic Defendants’ position on discovery issues is simple:

        1. Discovery should be phased into (1) common discovery and (2) the
           bellwether selection process (which includes selection of bellwether cases

3
  The cases against the Tennessee Clinic Defendants can be divided into three baskets: (1) 88 cases
(117 patients) against STOPNC, et al.; (2) 24 against SSC, et al., and (3) two against Dr. Jones. (Dr.
Jones administered MPA at PCA Pain Care.)
4
  In this brief, for brevity’s sake, STOPNC, Howell Allen, Dr. Culclasure, and Ms. Schamberg shall
sometimes be referred to as “STOPNC, et al.” And, SSC, Dr. Lister, and Dr. Lister’s Practice shall
sometimes be referred to as “SSC, et al.”

                                                  3
       Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 4 of 26




            and case-specific discovery).5 Consistent with this approach, the Tennessee
            Clinic Defendants propose an order governing common discovery6 and a
            separate order setting the bellwether framework.7

        2. Deadlines should be put in place to ensure the steady but reasonable pace of
           common discovery, culminating in a time for the parties to consider a
           Tennessee-specific mediation. Should mediation not be pursued or fail, the
           parties will continue into selection of bellwether trial pool cases and case-
           specific discovery in those cases, with further narrowing to the bellwether trial
           cases. Additionally, at the conclusion of common discovery, the parties and
           Court should consider whether (and when) the cases should be remanded to
           district court(s) in Tennessee.

        3. Certain provisions, as discussed herein, must be included in the discovery
           plan to ensure a mutual, fair exchange of information. This includes lifting the
           discovery stay as to the Affiliated Defendants and NECC to allow the
           Tennessee Clinic Defendants discovery of information relevant to (1) the
           defense of the claims against them, (2) potential comparative fault claims,
           and (3) potential third-party claims.

        4. A framework for bellwether selection can be put in place at this point, but it is
           premature to set specific deadlines beyond common discovery.

        5. The differences in facts from clinic to clinic and differences in applicable law
           from state to state make outcomes in cases against one clinic in one state
           less predictive of outcomes in cases against other clinics and in other states.
           Thus, discovery plans and bellwether frameworks should be clinic-specific.
           The Tennessee Clinic Defendants propose a discovery plan and bellwether
           framework herein for use in St. Thomas-related cases. A separate but similar
           plan and framework should be put in place for SSC-related cases.

    2. Background relevant to this brief

        The timeline below does not purport to cover the entire procedural history of this

MDL8 but instead presents a chronological look at the timeline entries most relevant to

the instant parties’ position on discovery:9




5
  There should also be, at some point, an analysis of whether bellwether cases are even appropriate.
6
  Exhibit 13 to this brief.
7
  Exhibit 14 to this brief.
8
  This MDL has, at present, 1,257 filings in the electronic docket.
9
  In the timeline, italics are used when quoting from letters or comments by the Court.

                                                   4
       Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 5 of 26




2013

January 29               First case against Tennessee health care providers10 filed in
                         Tennessee state court; three more follow

April 30 / May 28        STOPNC and Howell Allen respond to over 200 interrogatories and
                         requests for production in the state court litigation and ~60 requests
                         for admission, turning over hundreds of pages of documents; later,
                         STOPNC and Howell Allen, after lengthy meet and confers and a
                         court hearing, serve two rounds of supplemental discovery
                         responses, constituting hundreds more pages of documents

June 11                  On the eve of depositions of the Defendants in the state court
                         cases, the Plaintiffs voluntarily dismiss all lawsuits without prejudice

June 17                  The PSC serves non-party subpoenas on the Tennessee Clinics
                         (and dozens of other health care providers) in the MDL; four
                         different versions of the same subpoenas follow

September 12             The first lawsuits against the Tennessee Clinic Defendants in
                         federal court are filed, and shortly thereafter are transferred to the
                         MDL; scores more follow

September 17             Now parties to the MDL, the Tennessee Clinic Defendants make
                         first formal request for access to the 40,000 documents that NECC
                         produced to the Plaintiffs; that request is refused on this occasion
                         and on numerous subsequent occasions

September 26, 27         The Saint Thomas Entities11 file a motion to reconsider Case
                         Management Order 7, which established discovery and bellwether
                         selection deadlines, arguing that the order was unworkable now
                         that numerous other defendants had been added to the fray;12
                         STOPNC, et al. join in the Saint Thomas Entities’ motion to
                         reconsider CMO 7 a day later13

October 7                The PSC opposes the request to have the Court revisit CMO 714



10
   Wayne A. Reed, individually and as husband and next of kin of decedent, Diana Reed, v. Saint Thomas
Outpatient Neurosurgical Center, LLC, Howell Allen Clinic, a Professional Corporation, Saint Thomas
Network, Saint Thomas Health, and St. Thomas Hospital, No. 13C-417, Davidson County Circuit Court.
11
   For simplicity, this brief will utilize “Saint Thomas Entities” to refer to the various St. Thomas Hospital-
related entities named as defendants in Tennessee suits. The Saint Thomas Entities are separate
defendants from STOPNC, et al., represented by separate counsel.
12
   Dkt. 457.
13
   Dkt. 459.
14
   Dkt. 478.

                                                      5
       Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 6 of 26




October 8               At the monthly status conference, the Court directs the parties to
                        meet and confer on the discovery motion, ruling that the motion, for
                        the time being, will remain pending15

October 9               Despite the Court’s directive, the PSC serves 400+ discovery
                        requests on STOPNC, et al.,16 requests production of 50,000
                        emails that had been segregated, and demands initial disclosures
                        from STOPNC, et al.; the PSC also announces their intent to take
                        depositions of parties in 60 days17

October 10              The Tennessee Clinic Defendants respond in writing, proposing a
                        reasonable and measured plan for discovery in place of the then-
                        pending discovery requests and subpoena: “I propose we have a
                        discussion designed to agree on a date by which the plaintiffs with
                        suits against STOPNC and Howell Allen will produce their initial
                        disclosures, and we will serve our initial disclosures by the same
                        deadline, consistent with FRCP 26. We will begin working on our
                        discovery responses in anticipation of receipt of your initial
                        disclosures”18

October 16              The PSC responds, refuses to withdraw its subpoenas in light of
                        sending written discovery, and demands initial disclosures
                        immediately19

October 18              Tennessee Clinic Defendants respond, request an in-person meet
                        and confer, and propose the following plan:

                            •   Mutual exchange of initial disclosures by November 8,
                                followed by exchange of common written discovery

                            •   Plaintiffs will send LR 35.1 information by November 820

                            •   Plaintiffs will provide 20 search terms for search of emails

                            •   Limits of 200 RFAs and 35 ROGs


15
    See Clerk’s Notes from October 8, 2013, status conference (Dkt. 519).
16
    These 400+ discovery requests are largely duplicative of the requests answered in the state court
litigation and made in the subpoena, in many instances simply “cut and pasted” from one document to the
next. The PSC made no discernible effort to avoid sending duplicative requests, and, as noted later in this
timeline, actually took the position that it would be easier for the Tennessee Clinic Defendants to just
answer discovery requests repeatedly, no matter how many times asked.
17
    This letter is attached as exhibit 1 to this brief.
18
    This letter is attached as exhibit 2 to this brief.
19
    This letter is attached as exhibit 3 to this brief.
20
    As this Court knows, LR 35.1 requires disclosure of basic medical information as part of the initial
exchange of information. This process was supplanted later by the Plaintiff Profile Form.

                                                    6
       Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 7 of 26




                            •   Depositions will be deferred until written discovery is
                                complete and global motions to dismiss are resolved21

October 28              The PSC files its motion to lift the stay of discovery as to the
                        Affiliated Defendants22

November 7              At the monthly status conference, the Court extends the time to
                        further brief the pending motion to reconsider CMO 7 [Dkt. 457,
                        459]

November 11             After several meet and confer sessions between the PSC and the
                        Tennessee Clinic Defendants designed to (1) streamline the
                        duplicative discovery sent by the PSC and (2) develop a
                        reasonable, balanced discovery plan, the PSC responds in writing,
                        eviscerating any progress that had been made in the meet and
                        confer process:

                                “You have requested the PSC identify the differences in the
                                recent discovery served and the discovery served in the
                                [state court] case. After initially reviewing these differences,
                                we realized that the discovery we recently served took into
                                consideration many of the issues brought up in the meet and
                                confer process in state court, and accordingly, the easiest
                                way forward is for you to simply answer all discovery
                                responses [sic] posed on October 9, 2013, regardless of
                                whether a given request is the exact same request served in
                                the state court litigation.”23 24

                        The PSC also proposes:

                            •   No search protocol for ESI is needed; the defendants would
                                simply search the 92 search terms proposed

                            •   “We suggest that you de-dupe [the 50,000] emails, review all
                                of them, and produce those that are responsive and non-
                                privileged.”




21
   This letter is attached as exhibit 4 to this brief.
22
   Dkt. 534.
23
   (emphasis added). This letter is attached as exhibit 5 to this brief.
24
   The absurdity of the PSC’s position in this letter – that answering numerous repetitive requests is the
“easiest” way to proceed – was apparently not appreciated by the PSC, but that statement is illustrative of
the overall difficulty in getting a reasonable and balanced plan put in place.

                                                    7
       Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 8 of 26




                            •   A 14-day extension to respond to the 400+ requests,
                                respond to the subpoena, and review the 50,000 emails, all
                                around the Thanksgiving holiday25

November 25             The parties, at an apparent impasse in negotiating a plan to
                        conduct discovery, file motions with the Court stating their positions
                        regarding discovery:

                                Dkt. 591: PSC’s proposal
                                Dkt. 592: Saint Thomas Entities’ proposal
                                Dkt. 598: Tennessee Clinic Defendants’ proposal

                        As part of the proposals at Dkt. 592/598, the Saint Thomas Entities
                        and the Tennessee Clinic Defendants formally request that the
                        Court stay discovery of them until a discovery plan is put in place

                        At 598-2, the Tennessee Clinic Defendants proposed a discovery
                        plan for common discovery with the following provisions:

                            •   Exchange common initial disclosures by December 18

                            •   Master common written discovery exchanged by December
                                20, with limits of 200 RFAs, 40 ROGs, and 60 RFP

                            •   Respond to common written discovery by February 20

                            •   Motions to Compel on written discovery issues by March 20

                            •   Depositions of Tennessee Clinic Defendants will begin 45
                                days after any disputes regarding written discovery are
                                resolved

                            •   The limits in the FRCP on deposition duration and number of
                                depositions control, and the PSC will have one questioning
                                attorney during depositions

                            •   After common discovery, cases will be selected to constitute
                                the bellwether trial pool, and case-specific discovery of
                                cases in this bellwether trial pool will follow

December 10             The PSC files its opposition to the Tennessee Clinic Defendants’
                        proposal26
25
   Notably, during this period (and still), the Tennessee Clinic Defendants have held their set of common
written discovery to the PSC based on the Court’s repeated directive to the parties that a discovery plan
needed to be in place before the parties launch into discovery.
26
   Dkt. 617.

                                                   8
       Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 9 of 26




December 13            At the monthly status conference, in discussing the filed proposals
                       on discovery, Judge Saylor says at least five times that he wishes
                       the litigation to proceed by resolving motions to dismiss, followed
                       by an organized and planned discovery period. For instance:

                           •   “I do need to, as in any case, resolve motions to dismiss, get
                               discovery underway to the extent appropriate and so on. I
                               think the time has come to get organized along those lines
                               beginning with the resolution of motions to dismiss,
                               creating a framework for that so that they can be
                               decided and we can move on. What I hope to accomplish
                               in some reasonable short term is exactly that, to know what
                               the universe of short complaints are and to permit
                               defendants who so intend to have their 12(b)(6) motions
                               or other preliminary motions resolved, either they win or
                               they lose, and we go on from there.”27

                           •   “12(b)(6), again, we’re going to basically follow the Rules of
                               Civil Procedure. Right upfront, if you’re a defendant, you
                               have a right to file a motion that says this does not state
                               a claim upon [which] relief can be granted. I may deny
                               them all, I don’t know what I am going to do, but you have
                               that right, and I’m going to give them [that] right;.”28

                           •   “I’m not sure we can truly avoid 26(f) conferences at
                               least, I mean, we have defendants who are individual
                               physicians, and we have defendants who are multi-national
                               corporations, and there are a lot of different types of
                               defendants here, and they may be in very different positions,
                               and it has to be sensible and tailored as makes sense
                               under the circumstances.”29 30

December 16            The Tennessee Clinic Defendants, at the request of the PSC,
                       formally “adopt” their state court discovery responses into MDL31

December 20            The PSC threatens a motion for contempt over the pending
                       subpoenas32




27
   Hr’g Tr. 16:10-23 (Dec. 13, 2013, Status Conference).
28
   Id. at 29:7-13.
29
   Id. at 78:16-22.
30
    Compare this to the position of the PSC in its November 6, 201, letter (exhibit 3) that Rule 26(f)
conferences in this litigation would be “unheard of.”
31
   This letter is attached as exhibit 6 to this brief.
32
   This letter is attached as exhibit 7 to this brief.

                                                  9
         Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 10 of 26




December 23          Judge Saylor formally vacates the deadlines related to bellwether
                     selection in CMO 733

December 30          The Tennessee Clinic Defendants write again in an attempt to heed
                     Judge Saylor’s directive and institute a reasonable discovery plan:

                        •   “I do not think we are going to be able to resolve our
                            disagreements on the way written discovery should be
                            conducted without ruling(s) on [the motion to stay discovery
                            pending entry of a discovery plan and the motion for entry of
                            a discovery plan]. However, I write one last time in an
                            attempt to reach an agreement on how to proceed while
                            these motions remain pending.”

                        •   The Tennessee Clinic Defendants, with the letter, served
                            formal responses and objections to the discovery sent
                            October 9, 2013, and the subpoenas, formally stating their
                            objection that, consistent with Judge Saylor’s directive and
                            the FRCP, a discovery plan should be put in place before
                            launching into written discovery

                        •   “[W]e are still willing to agree to the written discovery
                            protocol we proposed with Dkt. 598, which I thought was
                            very reasonable. However, at this point, if we plan to travel
                            under the limits in the FRCP and the local rules, as the PSC
                            has proposed, we are limited in all forms of discovery and
                            cannot serve any discovery until initial disclosures are made.
                            I propose, again, that we mutually exchange initial
                            disclosures (a ‘common’ PSC set for STOPNC cases and
                            SSC cases and ‘common’ sets for STOPNC, et al. and
                            SSC/Lister) in short order. We would then proceed to answer
                            the ‘common’ discovery that is outstanding to us, and we will
                            serve the ‘common’ set of written discovery on the PSC that
                            we have been withholding pending entry of a plan setting
                            reasonable limits on written discovery. I also think our limits
                            of 200 RFAs/40 ROGs/60 RFPs are reasonable.”

                            “Otherwise, I suppose we can wait for Judge Boal to work
                            through these issues and enter a discovery protocol, which
                            will take time, and we will probably end up with something
                            that looks like what we proposed at Dkt. 598. Under our
                            proposal with Dkt. 598, you would already have our initial
                            disclosures, and complete responses to the written discovery


33
     Dkt. 721.

                                            10
       Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 11 of 26




                               (to the extent not covered by the initial disclosures) would be
                               forthcoming after the holidays.”

                               “Please take another look at our proposed written discovery
                               plan with Dkt. 598. Without it, we would both launch into
                               discovery with no limits or protocols except the FRCP and
                               local rules, which do not contemplate this complicated and
                               unique litigation. Let’s see if we can put a reasonable agreed
                               protocol in place while the motion to stay written discovery
                               and motion for discovery plan are still pending.”34

2014

January 10             At the monthly status conference, the Court again instructs the
                       parties to establish a discovery plan before launching into
                       discovery:

                           •   “[B]efore you take discovery from the other side, there
                               needs to be some kind of plan in place or order that
                               directs and sets deadlines and so on;.”35

                           •   “Part of what St. Thomas raised was also a motion to stay
                               discovery pending a discovery plan. I do want to take this up
                               at some point today. What I said about having a discovery
                               plan for the affiliated defendants obviously applies to the
                               unaffiliated defendants as well, some degree of planning and
                               coordination needs to be done here. You know, even in a
                               simple case, we have a scheduling conference where the
                               parties have to meet and confer. That needs to be discussed
                               as well. We don’t necessarily need to resolve it today, but
                               that issue does need to be resolved;.”36

                           •   “Certainly as to the St. Thomas entities that you represent,37
                               I’m going to direct the parties to meet and confer on this
                               discovery plan. I may spin some of this off to Magistrate
                               Judge Boal, I may keep it, I don’t know, but certainly it
                               makes sense for you all to get together and talk about what
                               you think makes sense to see if you can agree, and we’ll
                               handle it that way.”38


34
   This letter is attached as exhibit 8 to this brief.
35
   Hr’g Tr. 49:23-25 (Jan. 10, 2014, Status Conference).
36
   Id. at 40:24-35; 41:1-8, 17-22.
37
   The Court was speaking to counsel for the Saint Thomas Entities at this point. Although STOPNC and
St. Thomas are separate legal entities, the two have been lumped together at various hearings.
38
   Hr’g Tr. 48:5-12 (Jan. 10, 2014, Status Conference).

                                                 11
      Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 12 of 26




                           •    “I was thinking of a discovery protocol, which, in other words,
                                discovery from plaintiffs [is] going to be dealt with in the short
                                term, the fact sheets and so forth. Discovery from your
                                client’s perspective.39 I want you to meet and confer to talk
                                about a possible plan.”40

January 31             Despite the Court’s charge that the parties should meet and confer
                       and instruction that a discovery plan needs to be in place before
                       launching into discovery, the PSC files a motion for entry of a pre-
                       trial scheduling order, asking the Court to fast-track the cases from
                       written discovery to trial in 15 months with no allowance for
                       discovery of NECC or the Affiliated Defendants41

February 5             The Tennessee Clinic Defendants respond to the PSC’s entirely
                       unworkable proposal in writing by letter and filing with the Court42:

                            •   “The [PSC] proposed deadlines may seem plausibly
                                achievable in the abstract, but, when considered in the
                                context of the amount of work required at each step, it is
                                readily apparent that the deadlines simply are not
                                manageable;We prefer to plan on the front-end, setting out
                                a reasonable and manageable progression of this litigation
                                specific to the Tennessee defendants rather than
                                unworkable deadlines, in the hope of avoiding unnecessary
                                expenditure of time and resources.”

                            •   The letter points out the numerous problems with the PSC’s
                                proposal and again proposes a more balanced, steady
                                schedule for common discovery.43 “We should, at this point,
                                concentrate on establishing a realistic plan for conducting
                                common discovery, which will efficiently usher us into case-
                                specific discovery and bellwether selection.”

                            •   The proposal includes:

                                    o   Provisions for discovery of Affiliated Defendants
                                    o   Time for review of Plaintiff Profile Forms
                                    o   Time to allow for review of 40,000 NECC documents
                                    o   Mutual exchange of initial disclosures
                                    o   Mutual exchange of common written discovery
                                    o   Reasonable expert disclosure deadlines

39
   Again, the Court was specifically addressing counsel for the Saint Thomas Entities.
40
   Hr’g Tr. 48:17-22 (Jan. 10, 2014, Status Conference).
41
   Dkt. 837.
42
   Dkt. 858, and letter attached as exhibit 9 to this brief.
43
   See 858-3 for the Tennessee Clinic Defendants’ proposed discovery plan filed February 5, 2014.

                                                  12
       Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 13 of 26




                                        o Time to explore Tennessee-specific mediation
                                        o A bellwether selection framework

                               •    Tennessee Clinic Defendants again request to meet and
                                    confer, per the Court’s desire, on their proposed plan

March 3                    The Saint Thomas Entities file their position on discovery,44 asking
                           the Court to deny the PSC’s motion for entry of its pre-trial
                           scheduling order for many of the same reasons set out in the
                           Tennessee Clinic Defendants’ February 5 filing

March 3                    UniFirst files its position on discovery,45 asking the Court to, in
                           essence, table discovery while motions to dismiss are argued and
                           decided and other parties are added to the litigation

March 11                   The PSC responds on the discovery issues, arguing for its “fast-
                           track” scheduling order46

March 28                   The Tennessee Clinic Defendants join in the PSC’s October 2013
                           motion to lift the discovery stay as to the Affiliated Defendants47

April 17                   The PSC writes the Tennessee Clinic Defendants, still ignoring the
                           three separate discovery plans proposed by the Tennessee Clinic
                           Defendants:

                               •    “The PSC maintains that discovery is fully open and the
                                    parties should proceed with full written discovery posthaste.”

                               •    Demands “immediate[ ]” supplementation of all requests and
                                    threatens to file motions to compel and for sanctions

                               •    Demands that counsel review the 50,000 segregated emails
                                    and “dispense with electronic searches of this material”

                               •    Demands a response by April 21 (essentially within one
                                    business day)48

April 25                   The Tennessee Clinic Defendants make one final attempt at a
                           reasonable, collegial approach to the PSC’s demands, writing a
                           lengthy letter setting out their position49:

44
   Dkt. 964.
45
   Dkt. 965.
46
   Dkt. 1001.
47
   Dkt. 1041.
48
   This letter is attached as exhibit 10 to this brief.
49
   This letter is attached as exhibit 11 to this brief.

                                                          13
      Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 14 of 26




                             •   “First, let me make clear our position, a position that has not
                                 changed since October 2013. We believe:

                                 1. The ongoing motion to dismiss process should resolve at
                                    the outset of this litigation.

                                 2. Before launching into common written discovery, which
                                    we consider to include both (1) ‘common’ initial
                                    disclosures from both sides (the PSC and our clients)
                                    and (2) a master set of ‘common’ written discovery from
                                    both sides50, a ‘discovery plan’ should be agreed upon or
                                    entered by the Court.

                                 3. Such a discovery plan would include                          provisions
                                    addressing, at a minimum, the following:

                                      a. Reasonable timeframes for reciprocal production of
                                         initial disclosures.

                                      b. Reasonable limits on the numbers of interrogatories,
                                         requests for production, and requests for admission.

                                      c. Reasonable deadlines for the service of and
                                         answering of the initial set of common written
                                         discovery from the PSC to the Tennessee Clinic
                                         Defendants and from the Tennessee Clinic
                                         Defendants to the PSC.

                                      d. Now, given the entry of the standard plaintiff profile
                                         form (‘PPF’), reasonable deadlines for completion of
                                         the PPF, raising of objections to the completed PPFs,
                                         and supplementation of the incomplete PPFs.51”

                             •   “At no time have we said we do not believe you are entitled
                                 to written discovery from our clients or to take their
                                 depositions. We are ready and willing to engage in common
                                 written discovery so long as a reasonable plan is put in
                                 place. We may disagree on what constitutes a reasonable
                                 discovery plan. That is what the meet and confer process is
                                 designed for. But, our position has simply been that a plan
50
   “I understand that you consider your requests served in October 2013 to be the ‘common’ set from the
PSC. We have withheld ours pending entry of a discovery plan.” [footnote in original 4/25/14 letter, exhibit
11].
51
   “Such a plan would also include reasonable deadlines for disclosure of and depositions of common
experts and for common dispositive motion practice not done during this initial motion to dismiss phase.
But, the portion of the discovery plan addressing written discovery is the focus of this letter.” [footnote in
original 4/25/14 letter, exhibit 11].

                                                     14
Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 15 of 26




                   should be in place before launching into costly and time-
                   consuming written discovery.”

               •   “We have operated consistent with the directives of Judge
                   Saylor and the policy behind the federal rules in our attempts
                   to set a plan with reasonable parameters for discovery. We
                   wrote on October 10, October 18, and December 30,
                   addressing discovery issues. Each time, we proposed a
                   reasonable plan to establish a timetable for reciprocal initial
                   disclosures, deadlines for reciprocal written common
                   discovery, and limits on the numbers of interrogatories,
                   RFPs, and RFAs. We filed what I sincerely believe are
                   reasonable proposals at 598-2 and 858-3 to govern common
                   discovery. Some variation of these proposals must be
                   entered before launching into common written discovery.”

               •   “You contend;that the Court denied the motions to stay
                   discovery and cite Dkt. 783. I looked at Dkt. 783. The Order
                   at Dkt. 783 addresses St. Thomas’s motion at Dkt. 594 (its
                   motion for amendment of the protective order at Dkt. 397).
                   The Order at Dkt. 783 that you contend denied the motions
                   to stay does not even address them. Thus, our motions to
                   stay discovery pending entry of a discovery plan are still
                   pending, and they remain pending with the directive to us
                   that we meet and confer to establish such a plan.”

               •   The letter concluded with the Tennessee Defendants’ last-
                   ditch effort to compromise on these issues and another
                   request to meet and confer on the discovery plan per the
                   Court’s direction:

                         “Third, let me suggest where we go from here. I will
                         not reargue the points made in the original motions to
                         stay and the briefing at Dkt. 858. I will also not
                         reargue the points we have made in opposition to the
                         PSC’s bellwether proposal. I will only propose what I
                         believe to be a reasonable compromise on the
                         common written discovery issues.”

                         “I propose that the PSC reconsider Section I of our
                         filing at 858-3. Section I comprises a discovery plan
                         for written discovery, i.e., (1) a timeframe for
                         reciprocal initial disclosures, (2) reasonable limits on
                         the number of interrogatories, RFPs, and RFAs, (3)
                         deadlines for completion and supplementation of the
                         PPFs, and (4) a reasonable timeframe for exchange

                                   15
      Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 16 of 26




                                       of written common discovery requests. I enclose
                                       another copy of 858-3. Provision ‘I’ can be amended
                                       to allow for the Trustee’s agreement that the PSC can
                                       allow us access to the NECC documents.”

                                       “I propose that we meet and confer on the discovery
                                       plan, using 858-3’s Section I as a starting point, as
                                       directed by Judge Saylor in mid-January. In the
                                       several months since the directive to meet and confer
                                       on the discovery plan, the parties have reached
                                       agreement on the ESI protocol and concluded the
                                       meet/confer and argument process on the deposition
                                       protocol.52 I propose we do the same on the written
                                       discovery plan.”

                                       “In the interim, while we negotiate the written
                                       discovery portion of the discovery plan contemplated
                                       by Judge Saylor, we will continue the process of
                                       gathering documents and information from our clients
                                       to send initial disclosures and answer the discovery
                                       sent in October, and Plaintiffs can begin the process
                                       of completing the PPFs.”

                                       “Please let me know your thoughts. I am available to
                                       confer in person or by phone on these issues April 30
                                       (afternoon), May 1 (anytime), or May 5 (anytime).”

                                             *******

       This request went unanswered and was, in essence, the conclusion of the

dialogue on discovery issues. Judge Zobel referred the issues to this honorable Court,

for hearing on July 17, 2014.

     3. Where we are now and where we are going

       The above rehashes how we arrived at this point. Now, we must decide how to

proceed. Put simply, it is imperative that we put in place a reasonable and measured

discovery plan to move this litigation through common discovery, into the selection of



52
   “In addition, much of the last 90 days has been spent on a motion to dismiss briefing.” [footnote in
original 4/25/14 letter, exhibit 11].

                                                  16
         Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 17 of 26




bellwether pool cases for case-specific discovery phase, and then through case-specific

discovery in a subset of cases for trial as bellwethers.

               a. What we have in place and what we need

           The parties have briefed and argued, and the Court has entered, a form Plaintiff

Profile Form, which will serve as the vehicle by which individual plaintiffs will provide

information to the Defendants.

           The parties have agreed upon a protocol for the exchange of ESI.

           The parties have briefed and argued the contents of a deposition protocol to this

Court. When the Court rules, the parties will have a deposition protocol in place to

govern the taking of depositions.

           The parties now need (1) a discovery plan governing common discovery and (2)

a framework for bellwether cases that governs the selection bellwethers, case-specific

discovery, and bellwether trials.

               b. Guiding principles

                          i. Utility of a discovery plan

           The letter and policy of the FRCP and the local rules, the directives of Judge

Saylor early in this litigation, the Manual for Complex Litigation, Fourth, and common

sense all support the imposition of an overall discovery plan to govern common

discovery.

           First, FRCP 26(f) specifically requires that the parties confer and develop, with

the Court’s input if necessary, a discovery plan.53 “[T]he purpose of pretrial discovery is

to ‘make trial less a game of blind man’s bluff and more a fair contest with the basic



53
     FED. R. CIV. P. 26(f).

                                                  17
      Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 18 of 26




issues and facts disclosed to the fullest practicable extent.’”54 FRCP 26(f) specifically

delineates what must be addressed in the discovery plan:

         Initial disclosures under FRCP 26(a)

         The subjects of discovery, when discovery will be had, and whether it should
          be phased or focused on certain issues

         ESI

         Issues regarding claims of privilege or work-product protection

         Whether the standard FRCP or local rules should be modified for the case.

        The comments to FRCP 26 note its intent: “The purpose of discovery is to

provide a mechanism for making relevant information available to the litigants.”55

“Mutual knowledge” of the facts is essential to proper litigation.56 FRCP 26(f) discovery

conferences and plans are intended to encourage efficient and economical discovery.57

        The Massachusetts District Court Local Rules echo the importance of early

overall management of discovery by requiring that the parties confer and develop a plan

for discovery.58

        Second, as noted above, the Court never indicated it wished to dispense with the

planning procedures of the FRCP and local rules. In fact, the Court indicated just the

opposite, repeatedly directing the parties to meet and confer on a discovery plan before

launching into costly discovery.

        Third, the Manual for Complex Litigation amplifies the importance of an overall

discovery plan in complex litigation. “A discovery plan should facilitate the orderly and


54
   Ojo v. Eldin Medic, No. 11-cv-210-JL (D. N.H. 2012).
55
   FED. R. CIV. P. 26(f) (cmts., 1983 amendment).
56
   FED. R. CIV. P. 26(f) (cmts., 1983 amendment) (citing Hickman v. Taylor, 329 US 495, 507 (1947)).
57
   FED. R. CIV. P. 26(f) (cmts., 1993 amendment).
58
   LR 16.1(b).

                                                   18
      Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 19 of 26




cost-effective acquisition of relevant information and materials and the prompt resolution

of discovery disputes.”59 “The plan should reflect the circumstances of the litigation, and

its development and implementation must be a collaborative effort with counsel.”60 The

Manual devotes 12 pages to the implementation of an overall discovery plan before

beginning written discovery.61

        Lastly, common sense dictates that, before engaging in costly and time-

consuming discovery, the parties should have an overall plan in place. Without a

discovery plan in place ahead of service of discovery in this MDL, the parties have

expended countless hours arguing about initial disclosures, duplication in requests sent,

and time limits for responding. These are the exact issues the overall discovery

framework would resolve on the front-end.

                       ii.     Bellwether selection process

        The Tennessee Clinic Defendants premise their proposed discovery plan and

bellwether framework on Judge Eldon E. Fallon’s62 guidance for managing MDLs. 63

        The Tennessee Clinic Defendants anticipate that the parties will use the already

developed Plaintiff Profile Form to obtain basic information on a plaintiff and to assess

whether a plaintiff is appropriate for inclusion in the initial bellwether candidate pool.

Each side will then nominate eight cases apiece for the bellwether trial candidate pool.64


59
   Manual for Complex Litigation, Fourth, 51.
60
   Manual for Complex Litigation, Fourth, 51.
61
   Manual for Complex Litigation, Fourth, 51-62.
62
   During his tenure as a federal district court judge for the Eastern District of Louisiana, Judge Fallon has
presided (or is presiding) over the Propulsid MDL, MDL No. 1355, the Vioxx MDL, MDL No. 1657, and the
Chinese Drywall MDL, MDL No. 2407. He has written extensively on how this type of litigation should be
most effectively managed.
63
   Fallon, et al., Bellwether Trials in Multidistrict Litigation, TULANE LAW REV., Vol. 82, p. 2223 (2008)
(hereinafter “Fallon, [page number]”).
64
   Depending on which defendants are left in the litigation, this number and process may need
modification.

                                                     19
         Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 20 of 26




          Once selected for the bellwether trial candidate pool, the parties will conduct

individual case-specific discovery of the cases in the bellwether candidate pool. After

individual case discovery, the parties will propose four bellwether trial cases from the

bellwether candidate pool. After bellwether trial cases are selected, they will be tried.

          This process is consistent with that described in Judge Fallon’s article,

Bellwether Trials in Multidistrict Litigation:

          1. First, catalogue the entire universe of cases, and divide them into distinct,
             easily ascertainable categories of cases.

          2. Second, select a manageable pool of cases that reflects the various
             categories of cases and contains cases that are amenable to trial in the MDL.
             Proceed with case-specific discovery in these cases.

          3. Third, the court and attorneys collaborate near the end of case-specific
             discovery to select a pre-determined number of individual cases within the
             sample and set them for trial.65

          As Judge Fallon explained, without representative bellwethers, “the transferee

court and the attorneys risk trying an anomalous case, thereby wasting substantial

amounts of both time and money.”66 The Plaintiff Profile Form phase will be used in

assisting the parties from Judge Fallon’s step one to step two – identifying a pool of

bellwether trial candidates.

          At the same time, the common discovery phase will begin the long road of

discovery necessary to prepare these cases for trial. This overall discovery process

must have a sufficient exchange of meaningful information prior to bellwether trial case

selection to ensure the selection of representative cases and to ensure fair trial of these

representative cases. The Tennessee Clinic Defendants’ proposals fairly accomplish

these goals.

65
     Fallon, 2343.
66
     Fallon, 2344.

                                                 20
      Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 21 of 26




           c. PSC’s position

       The PSC’s position is fairly represented in the above recitation of the history

leading to this brief. It is characterized by the following:

        A consistent unwillingness to engage in mutual exchange of initial disclosures
         and common discovery

        A refusal to withdraw or modify discovery that the PSC itself admits is largely
         duplicative of discovery already served

        Extremely aggressive deadlines.

       This is not how discovery should work.

           d. Proposal

                     i.      Discovery plans and bellwether frameworks should be
                             clinic-specific

       The Court should probably put in place an overall bellwether selection framework

in order to set appropriate deadlines in a common discovery plan. The Tennessee Clinic

Defendants respectfully submit that the bellwether process and common discovery plan

should be clinic-specific. Otherwise, significant problems will arise as clinic-defendants

from states with multi-year statutes of limitations are added to the MDL in the coming

months (or years), after the expiration of various deadlines for common discovery

and/or bellwether selection.67

       Utilizing a clinic-specific bellwether process will also ensure that the bellwether

process serves its predictive function. There is no variation in the facts from the defense




67
   By adopting a clinic-specific process, the Court can adopt a plug and play approach for common
discovery. When a new clinic is added as a defendant, the Court can use the structure in the common
discovery plan used for the Tennessee Clinic Defendants but set deadlines for completion of discovery to
accommodate the late arrival of the new clinic.

                                                  21
       Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 22 of 26




side above the clinic level.68 The predictive value of a bellwether case will be the same

for the non-clinic defendants, regardless of which case is chosen as a bellwether.69

        For the clinic defendants, on the other hand, a bellwether trial involving a

different clinic, particularly a clinic from another state, will have little or no predictive

value. The only real factual variation from the defense side is the relationship between

the clinics and NECC, specifically the due diligence undertaken by the clinic prior to

purchasing from NECC. Whether a New Jersey jury finds that a New Jersey clinic did or

did not undertake adequate due diligence under New Jersey law provides no real

predictive value for a Tennessee clinic governed by Tennessee law.

        The most logical means of avoiding these problems is to adopt a clinic-specific

common discovery plan and bellwether selection process.

                       ii.     Tenets of the Tennessee Clinic Defendants’ proposal

        The Tennessee Clinic Defendants respectfully submit that the following must be

included in the discovery plan in order to ensure the orderly progression of this case

toward bellwether trials:

     1. The discovery plan must be phased into (1) common discovery and then (2)
        bellwether selection and case-specific discovery. At this point, setting specific
        deadlines for case-specific discovery and deadlines for pretrial activities is
        premature. There are too many unknowns – e.g., the status of NECC, the status
        of the various National and Affiliated Defendants, the resolution of numerous
        legal issues in the pending dispositive motions, the status of defendants coming
        into the suits presently or in the near future and potentially settling or being
        dismissed, the ease or difficulty with which certain discovery will occur – to plan
        these cases all the way through trial.

     2. The discovery plan must allow for the mutual exchange of initial disclosures
        between the PSC and the Defendants. Initial disclosures are the most efficient

68
   I.e., the evidence likely to be presented at trial for NECC, the Affiliated Defendants, and the National
Defendants should be the same irrespective of the state law, clinic, or plaintiff involved in a given case.
69
   The only possible exception is the application of state law to the claims against for NECC, the Affiliated
and National Defendants, but a clinic-specific process accounts for differences in state law.

                                                    22
       Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 23 of 26




        way to exchange basic information at the outset of discovery. The FRCP, the
        local rules, and the Manual for Complex Litigation all encourage their use. This
        litigation should be no different.

     3. Adequate time must be included for review of the 40,000 NECC documents that
        are presently in the repository. This review should start very soon, once access is
        arranged, but it will take time.

     4. The Tennessee Clinic Defendants must be afforded access to the data70
        obtained by the PSC during its 2012 inspection of NECC. Despite the order
        governing the inspection contemplating access to this information by all
        defendants,71 the PSC has refused to turn most of the information over.72

     5. The discovery plan should include reasonable limits on interrogatories, requests
        for production, and requests for admission.

     6. The discovery plan must allow for discovery of the Affiliated Defendants and of
        NECC. Discovery of these entities is important for the development of
        comparative fault and third-party claims by these Defendants. Additionally, they
        hold discoverable information important to the defense of the claims against the
        Tennessee Clinic Defendants.73

     7. At the conclusion of common discovery, when reciprocal discovery has occurred
        sufficient to more fully evaluate factual issues, liability issues, and potential
        exposure, time should be allotted to explore a Tennessee-specific mediation.
        Also, once common discovery of NECC and the National and Affiliated
        Defendants has completed, it may be the proper time to remand the cases to
        Tennessee’s district court for case-specific discovery and trials. Thus, at the
        conclusion of common discovery, if mediation fails or is not pursued, the parties
        should confer and consider whether remand to Tennessee’s district court is
        appropriate.74




70
   Within the last week, the PSC has given the Tennessee Clinic Defendants access to the video from the
2012 inspection. But, the PSC refuses to provide access to the crucial remaining data from the 2012
inspection.
71
    Order Setting Protocol for Onsite Inspection and Testing of New England Compounding Center,
Framingham, MA. Erkan v. NECC, No. 1:12-cv-12052-RWZ, Dkt. 126, adopted in MDL by MDL Order No.
6, MDL Dkt. 209.
72
   See letter exchange on inspection documents, attached as exhibit 12 to this brief.
73
    For instance, the Plaintiffs allege that the Tennessee Clinic Defendants conspired with NECC to
circumvent regulatory law. The contact of the Tennessee Clinic Defendants with NECC was through
Medical Sales Management, an Affiliated Defendant. The Tennessee Clinic Defendants need to discover
documents and testimony from Medical Sales Management to defend the conspiracy claim.
74
   Attached as exhibit 15 is a diagram illustrating the conceptual discovery/bellwether framework set forth
in detail in the Tennessee Clinic Defendants’ proposed orders attached as exhibits 13 and 14. Exhibit 15
is intended to give the Court an overview of the Tennessee Clinic Defendants’ proposals in broad strokes.

                                                   23
       Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 24 of 26




     8. The plan must include reasonable deadlines. The PSC has a habit in this
        litigation of pushing for deadlines, not meeting them, and requiring extension.75
        The deadlines in the PSC’s latest proposal were, frankly, ridiculous. For example:

            •   The proposal allowed the Defendants 15 days after receipt of the Plaintiff
                Profile Forms to notify the Plaintiffs of any material deficiencies. Fifteen
                days is barely enough time to read all the forms, much less obtain records
                for each Plaintiff, cross-check the records with the forms to ensure
                completeness, and formally notify the Plaintiffs of all deficiencies.

            •   The PSC’s proposal requires identification of trial cases within 60 days of
                receiving the Plaintiff Profile Forms. At the 60-day mark, the Defendants
                will likely not even have received all the relevant records on the Plaintiffs,
                and certainly will not have digested the records sufficient to make
                meaningful selections.

            •   From the conclusion of expert disclosures, the PSC proposes 40 days to
                depose experts. The parties will disclose at least 20 experts, and probably
                many more. Forty days to depose all experts in the case is absurd.

            •   After case-specific discovery ends, the parties are allotted seven days to
                make trial picks. Transcripts on depositions will not even have returned. A
                week for this important task is laughable.

            •   Overall, the PSC’s proposal contemplates discovery in eight bellwether
                cases and common discovery all happening simultaneously, and all to be
                concluded in about nine months. A single, simple car accident case often
                cannot be readied in that time.

                      iii.    Tennessee Clinic Defendants’ proposal for discovery plan
                              and bellwether framework

        The Tennessee Clinic Defendants attach as exhibit 13 to this brief their proposed

discovery plan to govern the first phase of discovery – common discovery.76


75
   See, e.g., Motion for Extension of Time to File Mediation Order [Dkt. 363]; Request for Extensions to
File Master Complaint and Short Form Complaint [Dkt. 395]; Motion to Extend Deadlines in Previous
CMO and to Revise CMO [Dkt. 421]; Motion to Extend Deadlines Set Forth in Mediation Program [Dkt.
487]; Motion for Extension of Time to File Master Complaint as to Affiliated Defendants [Dkt. 540]; Motion
to Extend Deadline for Filing List of Subpoena Recipients Named as Defendants [Dkt. 574]; Motion for
Extension of Time to Respond to Traveler’s Motion to Quash [Dkt. 737]; Motion to Extend Deadline for
Filing Master Complaint Against Affiliated Defendants [Dkt. 741]; Motion for Extension of Deadline to
Respond to Trustee’s Renewed Motion to Transfer [Dkt. 760]; Motion for Additional Extension of Time to
Respond to Traveler’s Motion to Quash [Dkt. 765].
76
   The proposed discovery plan attached as exhibit 13 governs only the St. Thomas-related cases, but the
proposed framework and deadlines should work equally well for the SSC-related cases.

                                                   24
      Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 25 of 26




        The Tennessee Clinic Defendants attach as exhibit 14 to this brief their proposed

order governing the second phase of discovery – case-specific discovery and bellwether

selection.77 This proposed order has no specific deadlines entered and no specific

provisions for case-specific discovery. Those deadlines should be set once sufficient

progress has been made in common discovery to allow for assignment of reasonably

attainable deadlines for the second phase of discovery.

     4. Conclusion

        If the PSC had accepted any of the three discovery plans that the Tennessee

Clinic Defendants proposed since October 2013, initial disclosures would have been

exchanged, written discovery answered, and depositions likely scheduled or underway.

However, the PSC has maintained throughout that little or no planning is necessary and

that this litigation can proceed unchecked at breakneck speed to trials. Judge Saylor

repeatedly warned against that and ordered development of a discovery plan,

consistent with all available authority and scholarly guidance.

        The Tennessee Clinic Defendants’ proposed common discovery plan and

bellwether framework are fair and reasonable protocols to move this litigation forward.

The Tennessee Clinic Defendants urge the Court to enter them or enter a substantially

similar plan.




77
  Again, the proposed bellwether selection framework governs only St. Thomas-related cases. The
overall framework should work equally well for SSC-related cases, with the number of cases halved at
each stage of the selection process to account for the fewer number of cases against SSC (24 suits vs.
88 suits). Each side will select four cases for inclusion in the “Initial Trial Pool,” and two cases will be
chosen as the “First Bellwether Trials.”

                                                    25
         Case 1:13-md-02419-RWZ Document 1258 Filed 07/10/14 Page 26 of 26




                                                    Respectfully submitted,


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                                    CERTIFICATE OF SERVICE

        I certify that this document filed through the CM/ECF system will be served
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identified as unregistered this 10th day of July, 2014.

                                             /s/ Chris J. Tardio
                                             Chris J. Tardio




78
     Admitted pursuant to MDL Order No. 1.
79
     Admitted pro hac vice.

                                               26
